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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION



 CUTTING EDGE VISION, LLC

         Plaintiff,

 v.                                          Case No. 6:22-CV-00285-ADA-DTG

 TCL TECHNOLOGY GROUP                        JURY TRIAL DEMANDED
 CORPORATION, TCL ELECTRONICS
 HOLDINGS LIMITED, TCL
 COMMUNICATION TECHNOLOGY
 HOLDINGS LIMITED, and
 TCL COMMUNICATION LIMITED

         Defendants.




                 PLAINTIFF’S RESPONSE IN OPPOSITION TO
      DEFENDANTS’ MOTION FOR JUDGMENT ON THE PLEADINGS THAT THE
                ASSERTED CLAIMS OF THE PATENTS-IN-SUIT
                    ARE INVALID UNDER 35 U.S.C. § 101




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                               PLAINTIFF’S LIST OF EXHIBITS

    1.    Exhibit A: Plaintiff Cutting Edge Vision’s Statement of Material Facts from the
                     Public Record.

    2.    Exhibit B: Declaration of Justin J. Lesko Dated April 27, 2023.

    3.    Exhibit C: U.S. Patent No. 10,063,761 (“’761 Patent”), Plaintiff’s Exhibit 4.

    4.    Exhibit D: U.S. Patent No. 11,153,472 (“’472 Patent”), Plaintiff’s Exhibit 4A.

    5.    Exhibit E: Portions of the File History of U.S. Patent No. 10,063,761 (“’761 F.H.”).

    6.    Exhibit F: Portions of the File History of U.S. Patent No. 11,153,472 (“’472 F.H.”).

    7.    Exhibit G: Portions of the File History of U.S. Patent No. 9,936,116 (“’116 F.H.”).




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  I.     Introduction

         TCL asks this Court to rule that U.S Patent Nos. 10,063,761 and 11,153,472 (“CEV’s

patents”) are invalid under 35 U.S.C. § 101 for being no more than an “abstract idea.” Its motion

ignores relevant claim language—and the specification and prosecution history entirely—and

rehashes arguments TCL lost at claim construction. TCL’s motion should be denied.

         Patents issued by the United States Patent Office are presumed valid, and the clear and

convincing evidentiary standard applies to all validity challenges, including under § 101. See

Cellspin Soft, Inc. v. Fitbit, Inc., 927 F.3d 1306, 1319 (Fed. Cir. 2019). Moreover, the question of

eligibility may be determined at the pleadings stage “only when there are no factual allegations

that, taken as true, prevent resolving the eligibility question as a matter of law.” Aatrix Software,

Inc. v. Green Shades Software, Inc., 882 F.3d 1121, 1125 (Fed. Cir. 2018). In this regard, while it

is a question of law whether a claim recites patent eligible subject matter, the question may involve

underlying facts that overlap with other fact-intensive inquiries like novelty under § 102. Mayo

Collaborative Servs. v. Prometheus Labs., Inc., 566 U.S. 66, 90 (2012).

         For these reasons, this Court has explained that “resolving § 101 eligibility of all asserted

claims almost certainly requires fact discovery,” and that “a court stands a better chance of making

the correct § 101 eligibility decision by delaying that decision in order to spend more time

understanding the patents and its nuances, as well as technology in general, and what was ‘well-

understood, routine, and conventional activities previously known to the industry.’” Slyce

Acquisition Inc. v. Syte-Visual Conception Ltd., No. 6:19-cv-257-ADA, 2020 WL 278481, at *5,

*7 (W.D. Tex. Jan. 10, 2020) (citations omitted). The Court also explained that “because claim

construction can affect—and perhaps, in most cases, will affect—a court’s § 101 eligibility

analysis, the Court believes that it is generally wiser—and more efficient—to wait to determine a




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patent’s § 101 eligibility until after issuing its claim construction order.” Id. at *5.

        The purpose of the Court’s admonitions in Slyce Acquisition is for the parties to learn from

the Markman (and discovery) process. While TCL waited to file its Rule 12(c) motion until after

claim construction, it recycles many of the same positions that were at the very least shown to be

contested during the claim construction process, including some that the Court’s Preliminary

Claim Construction Order expressly (or inherently) rejected. Having learned nothing, TCL again

makes the same claim construction errors, but this time in a Rule 12(c) context that precludes

contesting the facts underlying the § 101 analysis.

        First, to support its arguments under both Alice Part 1 and Alice Part 2, TCL repeats the

“purely functional” arguments it made during claim construction. For example, TCL asserts that

CEV’s claims “only recite high level functional results” (p. 7), use only “result-focused, functional

language” (p. 8), “are purely functional and abstract” (p.8), recite “functions in general terms”

(p.8), and describe “the communication . . . in purely functional terms” (p. 11). However, the

parties devoted significant parts of their claim construction briefs and expert reports to TCL’s then-

contested “purely functional” assertions. Section III, below, shows that TCL’s “purely functional”

assertions again ignore important parts of the claims, the specification, and the prosecution history.

TCL’s arguments are even less compelling here, because: (1) the court rejected TCL’s assertion

that the element (f) is “purely functional” during claim construction, and (2) at minimum, those

assertions are contested, and in the Rule 12(c) context, those facts (and the record) must be viewed

most favorably to CEV.

        Second, TCL grounds its argument under both Alice Part 1 and Alice Part 2, on an oft-

repeated assertion (made at least twelve times) that CEV’s claims are “not inventive.” See, e.g., p.

7 (“do not focus on an improvement” and “do not solve any technological problem”), p. 11 (“do




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not improve in any way existing technology” and “do not disclose any new way to transmit

pictures”), p. 12 (“do not recite any inventive concept” and only recite “what one would expect.”

However, TCL’s assertions are unambiguously contradicted by critical parts of the prosecution

history showing that CEV repeatedly and thoroughly addressed such “novelty” issues, proving to

the examiner that its claims were indeed “inventive.” 1

        Third, TCL’s legal analysis is fundamentally flawed, as it seeks to have the “exceptions to

§ 101 swallow the rule” by overgeneralizing and oversimplifying CEV’s claims, and also

characterizing them at a high level of abstraction that is untethered from the specific requirements

of the claims. See Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1337 (Fed. Cir. 2016); McRO,

Inc. v. Bandai Namco Games America, Inc., 837 F.3d 1299, 1313 (Fed. Cir. 2016) (citations

omitted, explaining that courts “'must be careful to avoid oversimplifying the claims’ by looking

at them generally and failing to account for the specific requirements of the claims”). Specifically,

as it did during claim construction, TCL again ignores many of the structures, operations,

requirements, and features of CEV’s claims, particularly in element (f). 2

        CEV establishes below within the framework of a proper § 101 analysis, that when the

claims are considered in their entirety in light of the specification 3 and prosecution history, it is

clear that they are not directed to an abstract idea but, instead, define specific, unconventional

technical improvements that amount to an inventive concept not found in the prior art. To assist


1
 TCL was clearly aware of the importance of the prosecution history to these issues because
many of the same parts were addressed during claim construction. Inexplicably, here TCL never
once addresses any part of the prosecution history.
2
  Moreover, TCL completely abdicates its responsibility to prove the dependent claims invalid
under § 101. It presents no analysis whatsoever of the dependent claims (see pp. 4 and 10), and
simply hand waves with a conclusory assertion of invalidity.
3
 The portions of the ’472 Patent specification cited herein are also found in the ’761 Patent
specification.

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the Court, CEV has submitted with this Memorandum a separate “Statement of Material Facts

from the Public Record” (“CEV’s SOF”). The facts in CEV’s SOF are compiled from CEV’s First

Amended Complaint (Dkt. #55), CEV’s patents, and the prosecution histories of CEV’s patents

and a related U.S. Patent No. 9,936,116. All those sources are properly relied upon as part of the

public record in considering TCL’s Motion. 4

    II.     The Patent Specification and Prosecution Histories Demonstrate that the Claims are
            Directed to Important Technical Improvements, not Abstract Ideas

            At the time of the inventions, camera-enabled cellular devices (e.g, cell phones) had limited

local storage capacity for pictures. Due to those limitations, technology emerged to upload pictures

from the local storage to remote storage sites that do not have those memory constraints.

            However, many cellular plans charged fees in certain periods that would apply to picture

uploads over the cellular network. For example, cellular providers often charged upload fees when

a device was roaming on a visiting network or during peak traffic periods.

            The patent specification expressly recognizes these two competing issues for camera-

enabled cellular devices on cellular networks: limited local memory storage space for cell phones,

on the one hand, and potential cellular network access fees for uploading pictures over cellular

networks, on the other. For example, the ’472 Patent describes at 14:32-41:

            “The aspect of the invention allowing for automatic connection to a LAN or the
            internet is also contemplated for use with cell phone cameras. This aspect of the
            invention ameliorates the prior art storage space limitation which severely
            hampers the utility of the cell phone camera. Cellular service providers typically
            charge a fee for internet access or emailing and so an automatic feature to connect
            to the net or send email for the purposes of transmitting pictures can improve
            revenue generation for these companies.”

4
  On a motion for judgment on the pleadings for patent eligibility, this Court may consider the
asserted claims, specification, and prosecution history of the patents-in-suit. See CardioNet, LLC
v. InfoBionic, Inc., 955 F.3d 1358, 1372-73 (Fed. Cir. 2020). In addition, the Court may take
judicial notice of matters of public record. Aatrix Software, Inc. v. Green Shades Software, Inc.,
890 F.3d 1354, 1358 (2018)).


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It is indisputable that the patent specification clearly identifies the competing problems: “the prior

art storage space limitation which severely hampers the utility of the cell phone camera,” but

“cellular service providers typically charge a fee.”

        While additional revenue from picture uploads on cellular networks benefits service

providers, it is a downside for devices that upload. In short, uploading pictures from the local

memory to a remote site was (and still is, given the file size of images) an important way to address

the issue of limited storage space, but when a cell phone blindly uploads all pictures, it may cause

exorbitant fees during peak hours or roaming periods.

        The Asserted Patents describe and claim an inventive solution to this problem:

automatically uploading stored pictures to an “internet picture hosting site” whenever certain

specific predetermined conditions are met. One of those key conditions is that uploads should be

limited to “periods of cheaper network access.” For example, the ’472 Patent describes at 12:27-

31:

        “[T]he inventive camera system is equipped with software and hardware coupled
        to the camera controller allowing independent communication with a computer
        network for the primary purpose of communicating its pictures over the internet….
        [T]he invention contemplates the use of wired LAN, cellular data networks, etc. as
        the interconnection technology (FIG. 3, element 46 b) used by the inventive camera
        system.”

The ’472 Patent continues at 12:62-13:1:

        “In an enhancement to the above-disclosed embodiments of this aspect of the
        invention, the inventive camera system is operable for being instructed to
        automatically initiate a connection to the internet, LAN, printer, etc. whenever the
        predetermined conditions are met and it is in range of the network connection...

The specification further describes the solution at 13:3-7 by linking it to the access fees charged

on cellular networks:

        Additionally, the inventive camera system is preferably operable so that the


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        automatic connection is made only at certain times of the day or weekends, etc., so
        as to confine picture transmission to periods of low network usage or periods of
        cheaper network access, etc ....

In the same paragraph at 13:22-30, the specification also ties that improvement specifically to the

other problem - limited local storage:

        “[T]he inventive camera system can be instructed to automatically send the pictures
        to an email account, internet picture hosting site, web-based photo printing site, the
        user's internet­ connected home computer (when he is on vacation, for instance),
        etc. In this way, valuable pictures are immediately backed-up and the need for
        reliance on expensive camera storage media like flash cards, SD, etc. is greatly
        reduced.”

        The specification at 16:58-63 also describes using the status of cellular equipment to

monitor the conditions in a manner useful for uploads:

        “[A]utomatically connecting to the internet when a set of predetermined rules or
        conditions (such as time, date, status of equipment, etc) is met would be useful for
        the download/upload of information from/to the internet, like music, video, etc. for
        processing, storage, transmission to another party, etc.”

        Consistent with the disclosure, each asserted independent claim recites a technological

solution to the above-described problems (for brevity, the claims are recited only in part below):

        ’472 Patent Claim 1 (emphasis added):

        A camera system comprising:
                          ***
        (f) a controller coupled to the cellular interface, the non-volatile local memory and the
        touch sensitive display, and configured to:
                 (i) receive, via the touch sensitive display, a user selection of an upload option that
                 instructs the camera system to confine automatic picture upload to periods without
                 potentially increased cellular network access fees;
                 (ii) automatically connect to a picture hosting service that is internet-based and
                 enable an upload to the picture hosting service, over the internet and via the cellular
                 interface, of a group of image sensor-captured pictures stored in the local memory,
                 during any period detected by the controller in which all three of the following
                 conditions are met:
                          (1) the upload is allowed because the system is within one of the periods
                          without potentially increased cellular network access fees, as determined


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                          using data from the cellular interface,
                          (2) the system is connected to the internet via the cellular interface; and
                          (3) at least one image sensor-captured picture stored in the local memory
                          has been designated through the touch sensitive display as part of the group
                          of pictures to be uploaded to the picture hosting service.

        ’472 Patent Claim 5 (emphasis added):

        A camera system comprising:
                          ***
        (f) a controller coupled to the cellular interface, the non-volatile local memory and the
        touch sensitive display, and configured to:...
                 (ii) automatically connect to a picture hosting service that is internet-based and
                 enable an upload to the picture hosting service, over the internet and via the cellular
                 interface, of a group of image sensor-captured pictures stored in the local memory,
                 during any period detected by the controller in which all the following conditions
                 are met:
                          (1) the controller has received from the display a selection of the user-
                          selectable input that instructs the camera system to confine automatic
                          picture uploads to periods without potentially increased cellular network
                          access fees;
                          (2) the controller has confirmed that the camera system is within a period
                          without potentially increased cellular network access fees, as determined
                          using data from the cellular interface;
                          (3) the system has a connection to the internet via the cellular interface; and
                          (4) at least one image sensor-captured picture stored in the local memory
                          has been designated through the touch sensitive display as part of the group
                          of image sensor-captured pictures to be uploaded to the picture hosting
                          service.

        ’761 Patent Claim 1 (emphasis added):

         A camera system comprising:
                          ***
        (f) a controller configured to:
                 (i) receive, via the touch sensitive display, a user selection of an upload option that
                 instructs the device to confine automatic picture upload to periods without potential
                 cellular network access fees;
                 (ii) automatically connect to a remote picture hosting service and cause an upload
                 of one or more pictures stored in the non-volatile memory to the remote picture
                 hosting service via the cellular interface, after receiving:


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                           (1) data from the cellular interface used by the controller to determine that
                           the upload is allowed based on the selected upload option,
                           (2) an indication that the system is connected to the internet via the cellular
                           interface; and
                           (3) an indication from the local memory that a user has elected an option to
                           designate at least one picture from the group of pictures stored in the local
                           memory to be uploaded to the remote picture hosting service.

In each claim, the device is configured to automatically upload pictures at any time several specific

and technological conditions are met, including that the controller must determine that the camera

system is within a period without potentially increased cellular network access fees (or without

potential cellular network access fees) using data from the cellular interface.

         The prosecution histories of CEV’s patents confirm that the solution recited in the claims

was (1) technological, (2) specific, and (3) unconventional at the time of the invention as compared

to existing upload systems. Importantly, repeatedly during prosecution, CEV explained (among

other distinctions) that existing methods for avoiding cellular network fees involved processes local

to the device (such as timer-based uploads and uploads using calculated estimates), rather than using

current cellular network data received via the cellular interface.

         First, on October 25, 2019, with its initial filing of the application and claims that issued

as the ’472 Patent, CEV submitted an Information Disclosure Statement (“the 10/25/2019 IDS”).

’472 F.H. at CEV-0011561-576. CEV stated (’472 F.H. at CEV-0011568): 5

         Applicant’s claims clearly distinguish timer based uploads where the user picks a
         time for the system to upload pictures, and the system uploads pictures at that set,
         selected time, as purportedly described in Colby, Kusaka 1, and Kawaoka,. See,
         e.g., Colby at [0046] (stating “Other embodiments include modes wherein images
         are transmitted… at a specific time of day”); Kusaka 1 at [0432] and [0478]
         (describing that “[t]he CPU 50 stores in memory the selected time block, engages

 5
   The references addressed in the passages cited below are U.S. Pub. 2003/0030731 to Colby,
 No. 2004/0145660 to Kusaka et al., and No. 2002/0051074 to Kawaoka. These are of course just
 a few of the many references CEV distinguished during prosecution, but they are sufficient in the
 Rule 12(c) context to show the specific and unconventional nature of the CEV’s Claims, and to
 debunk TCL’s assertion that the claims are not “inventive.”

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        a means for time count such as the timer 74 to count the time and automatically
        executes the transmission of the specified image information to the outside by
        detecting that the current time point has entered a selected time block”); and
        Kawaoka at [0100] (stating “[t]he transmission allowance conditions-judging unit
        170 obtains time from the timer 86 through the time-obtaining section 160. Then,
        the transmission allowance conditions-judging unit 170 judges whether or not to
        transmit images based on the obtained time.”).

Second, CEV explained in the 10/25/2019 IDS (’472 F.H. at CEV-0011569, emphasis added):

        As an alternative to the timer based uploads, Kawaoka also purportedly describes
        calculating the upload cost based on the file size or the amount of time the upload
        is expected to take and previously stored cost per minute estimates. The system
        determines whether to upload based on that internal calculation. Again, this more
        conventional method does not use current data from the cellular interface to
        determine whether or not the device is currently in a period of potentially increased
        cellular network access fees - the system has a stored cost parameter and makes
        basic calculations based on it....

        Third, the 10/25/2019 IDS also summarized inventive aspects of the ’472 Patent claims

(’472 F.H. at CEV-0011567):

        “None of the references of record discloses or suggests ‘an upload option that
        instructs the camera system to confine automatic picture upload to periods without
        potentially increased cellular network access fees.’ Furthermore, none of the
        references describes, as a condition for upload, that the controller determines ‘the
        upload is allowed because the system is within one of the periods without
        potentially increased cellular network access fees, as determined using data from
        the cellular interface’ and that the controller automatically enables upload of
        designated photos to the picture hosting service when this condition and the other
        conditions are met. Thus, all of the pending claims are in condition for allowance
        for at least the same reasons that the Examiner recently issued the claims of the
        ‘116 and‘761 patents in this family.

        The automatic upload recited in each of the independent claims is also conditioned
        upon pictures being designated – the controller is configured to enable upload of
        the designated group of pictures if pictures are designated and the other conditions
        are met. This feature of the claims further distinguishes systems that only provide
        for uploading all stored pictures, as well as systems that upload each and every
        picture immediately in response to the picture being taken.”

        Fourth, as yet another example, in a March 11, 2020 IDS, CEV pointed out that the claims

distinguish other systems that altogether avoid the cellular network (’472 F.H. at CEV-0011172):

        “Ma … teaches to avoid altogether the cellular network because of fees and other


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        purported complications associated with cellular uploading. See e.g., Ma at [0056]
        (stating “[t]he invention obviates the use of a cellular phone system to upload
        photos….Cellular telephone services, used by mobile phones, also require complex
        telecommunication protocols including dialing up the system, transmitting cellular
        phone signals and other processes that take time, resources, cost money in air time
        and fees, and are generally cumbersome for a user who simply wants to upload
        photograph information….”). Thus, the device in Ma uses an internet-connected
        Kiosk to upload instead of the cellular network. See e.g., Ma at [0024].”

        Fifth, CEV filed a preliminary amendment the same day as the 10/25/2019 IDS presenting

the claims that issued in the ’472 Patent, and stated:

        “Applicant has also taken care to prepare the claims in compliance with 35 U.S.C.
        § 101 requiring claims to be directed to specific patentable subject matter.
        Applicant requests that the Examiner inform Applicant if he believes any claim is
        directed to any unpatentable subject matter so that appropriate amendments can be
        made.”

’472 F.H. at CEV-0015419. The examiner did not issue a § 101 rejection in the ’472 Patent.

        Sixth, on December 7, 2017, CEV yet again distinguished earlier “timer-based” uploads in

an examiner interview related to CEV’s ’116 Patent with parallel claim elements (examined by the

same examiner in parallel with the asserted ’761 Patent). In discussing the claim language pertinent

to the ’761 Patent, CEV stated in its interview summary (dated December 11, 2017):

        “The Examiner asked whether the current claims are patentable over Colby (Pub.
        No. 2003/0030731), which purportedly allows a user to “designate a time of day”
        for picture uploads. Applicant distinguished the present claims from a “timer.”
        Specifically, Applicant used the hypothetical example of an egg timer vs. a device
        that determines when an egg is actually finished. In a timer scenario, cook time is
        set – and the device will stop cooking the egg at a designated time, regardless of
        whether the egg is “done.” On the other hand, a device that actually determines
        whether an egg is “done” monitors the specific conditions of the egg and only stops
        cooking it when the conditions are right. Applicant’s invention is comparable to the
        latter example and offers many explicit benefits over a simple timer. For example,
        a simple timer for picture upload (i.e., setting the upload for 8 PM) would still result
        in charges to a user’s account if the user is “roaming” at the designated time that
        the upload begins. In short, a timer does not adequately prevent roaming or other
        network charges that can be incurred during photo uploads. Applicant also pointed
        out that the Colby reference fails to disclose or suggest the claims for many other
        reasons, and urged the Examiner to review the claims as a whole in determining
        their patentability.”


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’116 F.H. at CEV-0031291.

        After considering the above in each respective file history, the examiner agreed with CEV

and allowed the ’116, ’761, and ’472 patents. ’472 F.H. at CEV-0001850-851, ’116 F.H. at

0031251-255, ’761 F.H. at CEV 0030604-608.

        Thus, the file histories of CEV’s patents unambiguously establish that: (1) automatically

uploading pictures from a cellular device “ameliorates the prior art storage space limitation which

severely hampers the utility of the cell phone camera,” but potential cellular network access fees

or potentially increased cellular network access fees were a part of cellular networks, (2) other

systems for automatic picture-uploads that were designed to minimize upload fees existed at the

time of the invention, but had their own deficiencies, (3) CEV’s claims define a specific, unique,

and unconventional (i.e. inventive) system for automatically uploading pictures that distinguished

the prior art, and (4) the examiner agreed with CEV and allowed the claims.

        Importantly, in Rule 12(c) context, all of the facts set forth above from the public record

must be accepted as true and must be considered in the light most favorable to CEV. Hughes v.

The Tobacco Inst., Inc., 278 F.3d 417, 420 (5th Cir. 2001). As demonstrated below, those facts

warrant denial of TCL’s motion.

III.    Argument

             A. CEV’s Claims are Not Directed to an Abstract Idea Under Alice Step One

        Under Alice Step 1, a claim is directed to eligible subject matter if (1) the focus of the

claimed advance is on a solution to a problem specifically arising in the realm of computer

networks or computers, and (2) the claim is properly characterized as identifying a “specific”

improvement in computer capabilities or network functionality, rather than only claiming a

desirable result or function. TecSec, Inc. v. Adobe Inc., 978 F.3d 1278, 1293 (Fed. Cir. 2020)


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(numerous citations omitted). “Even what seem like small technical details could loom large in the

final eligibility analysis because there is often only a very thin line between a patent that is directed

at an abstract idea and a patent that is directed to improving, for example, a computer . . . system.”

AML IP, LLC v. J.C. Penney Corp. Inc., 6:21-cv-522-ADA, 2022 U.S. Dist. LEXIS 189697, at

*13 (W.D. Tex. Oct. 18, 2022); citing Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1336 (Fed.

Cir. 2016).

        As shown above in Section II, CEV’s Claims recite a specific improvement and not an

abstract solution to the technological problem with camera-enabled cellular devices. The claims

are not directed to applying a human activity to computers: to the contrary, limited storage space

is a camera-cell phone problem that remote picture storage has been used to address, as are the

associated potential cellular network fees to access those remote-storage locations.

        TCL’s mischaracterizes CEV’s claims as being directed to either “automatically uploading

chosen pictures when certain conditions are met” or “automatically uploading chosen pictures

when certain conditions are met, such as only during periods without ‘potential cellular network

access fees’ or ‘potentially increased cellular network access fees.’” 6 However, TCL’s erroneous

analysis conveniently leaves out any mention that CEV’s claims require automatic picture uploads

that occur when a specific set of defined technological conditions is met.

        Specifically, the claimed device determines whether it is in an appropriate period for

upload using data from the cellular interface, as compared to systems that CEV distinguished

during prosecution (e.g., using a timer, or a calculated estimate, or any number of other

technological methods known at the time of the invention). The prosecution history (summarized



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 TCL goes even further when it overgeneralizes CEV’s claim, detached from virtually all of the
elements of the claim, as “akin to saying, ‘I want to send pictures when it’s not going to cost me
anything or when it’s not going to cost me a lot of money.’” See TCL Memo at p. 4.

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in Section II) establishes that the claims recite a specific way to determine whether to automatically

upload pictures based on conditions that distinguished all the prior art of record, rather than just a

result. See, e.g., Finjan, Inc. v. Blue Coat Sys., 879 F.3d 1299, 1305 (Fed. Cir. 2018) (“Here, the

claims recite more than a mere result. Instead, they recite specific steps—generating a security

profile that identifies suspicious code and linking it to a downloadable—that accomplish the

desired result.”).

        CEV’s Claims are analogous to the claims in Core Wireless Licensing S.A.R.L. v. LG

Elecs., Inc., 880 F.3d 1356 (Fed. Cir. 2018) and are patentable for the same reasons. First, the

Federal Circuit found that the Core Wireless claims “disclose an improved user interface for

electronic devices, particularly those with small screens.” 880 F.3d at 1363. Similarly, CEV’s

claims are directed to an improved method of automatically uploading in cellular devices with

limited memory that operate on cellular networks with upload-related fees. See Section II.

        Second, Core Wireless found,

        “Although the generic idea of summarizing information certainly existed prior to
        the invention, these claims are directed to a particular manner of summarizing and
        presenting information in electronic device” because the claim “requires ‘an
        application summary that can be reached directly from the menu,’ specifying a
        particular manner by which the summary window must be accessed.”

880 F.3d at 1362. Similarly, CEV’s Claims are directed to a particular manner of uploading on

the cellular network while avoiding potential fees, not just the abstract idea of “uploading when

cheap.” The claims describe automatically uploading when several specific conditions are met.

        Third, Core Wireless found that the claimed “summary window ‘is displayed while the one

or more applications are in an unlaunched state,’ a requirement that the device applications exist

in a particular state.” Id. at 1363. It concluded that “these claims recite a specific improvement

over prior systems, resulting in an improved user interface for electronic devices.” Id. Similarly,




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in CEV’s Claims, the controller must confirm that the cellular network is in a particular state using

a specific form of data from the cellular network. The controller in the claims uses “data from the

cellular interface” to “confirm[] that the camera system is within a period without potentially

increased cellular network access fees.” The prosecution history establishes that at least this

condition in combination with the others (that provide further particularity) is a “specific

improvement over prior art systems.” CEV distinguished on the record many other systems that

attempted to upload pictures during cheaper periods: timers, calculated estimates, and systems that

avoided cellular networks. See Section II above.

        The Federal Circuit’s decision in TecSec, Inc. v. Adobe Inc., 978 F.3d 1278 (Fed. Cir. 2020)

is also on point. In TecSec, the defendant argued that “the claims are directed to the impermissibly

abstract idea of managing access to objects using multiple levels of encryption.” 978 F.3d at 1294.

The Court disagreed, stating:

        [C]laim 1 …goes beyond managing access to objects using multiple levels of
        encryption, as required by ‘multilevel . . . security.’ Notably, it expressly requires,
        as well, accessing an ‘object oriented key manager’ and specified uses of a ‘label’
        as well as encryption for the access management…..To disregard those express
        claim elements is to proceed at ‘a high level of abstraction’ that is ‘untethered from
        the claim language’ and that ‘overgeneraliz[es] the claim.’”

Id. at 1295. The Court found: “The patent focuses on allowing for the simultaneous transmission

of secure information to a large group of recipients connected to a decentralized network—an

important feature of data networks—but without uniform access to all data by all recipients . . . .

The proposed improvement involves, among other things, labeling together with encryption.” Id.

        Importantly, TecSec reached its conclusion without finding either “labeling” or

“encryption” individually novel. Rather, the specific use of labeling with encryption, to solve the

problem, was enough. Similarly, CEV’s prosecution history here established that using data from

the network interface to determine whether the upload is allowed as a condition for automatic


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upload, in combination with the other conditions, is a specific use of the cellular interface data that

results in an improvement to camera-enabled cellular devices. See Section II. TCL cannot contest

these facts set forth in the prosecution history in a motion for judgment on the pleadings.

        Unlike Core Wireless and TecSec, the cases that TCL relies on in its brief do not apply:

    ● Yanbin Yu v. Apple Inc., 1 F.4th 1040 (Fed. Cir. 2021) does not stand for the proposition

        that every claim reciting camera hardware is abstract. In Yu, the Federal Circuit noted that

        “the idea and practice of using multiple pictures to enhance each other has been known by

        photographers for over a century.” 1 F.4th at 1043. Further, the solution recited in the

        claims was to generically “take one image and ‘enhance’ it with another.” Id. at 1044.

    ● The claims in In re TLI Communications Patent Litigation, 823 F.3d 607, 610 (Fed. Cir.

        2016) recited “storing the digital images in the server, said step of storing taking into

        consideration the classification information.” Again, humans classified images long before

        computers. Further, the claimed server in TLI broadly, in a non-specific way, was “taking

        into consideration” received classification information. Nothing in the claim provided a

        specific or unconventional form of classification, so the claim did not reflect an “inventive

        solution to any problem.” Id. at 612.

    ● In Affinity Labs of Texas, LLC v. Amazon.com Inc., 838 F.3d 1266, 1269, 1271 (Fed. Cir.

        2016), the claim did not “provid[e] any limiting detail that confines the claim to a particular

        solution to an identified problem” and was “not limited to any particular form of

        customization, but covers the general idea of customizing a user interface.”

    ● In USC IP Partnership, L.P. v. Facebook, Inc., 576 F. Supp. 3d 446, 455 (W.D. Tex. 2021),

        this Court found that those claims “do not solve an Internet-specific problem with an

        Internet-specific solution” because “finding information that matches the user's intent —




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        is a longstanding problem that existed long before the advent of computers and is not

        unique to the Internet.” The Court further found that the claim contained “no explanation

        of how ‘processing’ steps are performed or how it causes the intent engine to determine an

        ‘inferred intent’ or ‘at least one recommended webpage.’” Id. at 456.

        In contrast, CEV’s claims are not addressed to “century” old practices of humans: the

conflict between limited memory space and cellular upload costs is a problem specific to camera-

enabled cellular devices on cellular networks. CEV’s claims recite specific, technological

conditions, including using data from the cellular interface to determine whether the upload is

allowed, providing a user option on the touchscreen to turn the feature on, and receiving a selection

of at least one of the pictures to be uploaded. CEV’s claims describe exactly how the automatic

uploads are carried out, and exactly how the determination of whether to upload is made. They are

not abstract.

        Importantly, the prosecution history establishes that CEV’s claims recite specific and

limiting details confining the claims to a particular solution that was found to be inventive and that

distinguished other prior art solutions. See Section II; see also, e.g., Data Engine Techs. LLC v.

Google LLC, 906 F.3d 999 (Fed. Cir. 2018) (distinguishing Affinity Labs because the claim recited

“a particular manner of navigating three-dimensional spreadsheets, implementing an

improvement in electronic spreadsheet functionality.”) In particular, the examiner agreed with

CEV that using data from the cellular interface to determine whether it is an appropriate period for

the upload was specific and inventive, a finding that cannot be rebutted in a motion for judgment

on the pleadings. CEV’s claims do not generically say “send pictures when it’s not going to cost

me anything or when it’s not going to cost me a lot of money.” TCL misconstrues CEV’s claims

to try to shoe-horn them into its limited case-law.




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        In sum, as confirmed by the prosecution history, the claims are directed to an inventive and

specific system for solving a technological problem described in the specification, and those facts

in the specification and prosecution history must be taken as true for purposes of TCL’s motion.

TCL’s motion for judgment on the pleadings should be denied at Alice Step 1.

             B. CEV’s Claims Recite an Inventive Concept Under Alice Step Two

        Regardless of any other aspect of TCL’s § 101 arguments, the facts set forth in the

prosecution history of CEV’s patents—which must be accepted as true and viewed favorably to

CEV in the Rule 12(c) context—require a conclusion that TCL failed to prove by clear and

convincing evidence that CEV’s claims are ineligible under Alice Step 2. The prosecution histories

are replete with evidence that CEV’s claims recite an unconventional implementation of

automatically uploading pictures that is significantly more than any alleged abstract idea, and in

addition, contrary to TCL’s repeated assertions, the claims define an inventive concept that

distinguished the prior art. See Section II above.

        For Alice Step 2, TCL asserts that the “claims of the patents-in-suit do not recite any

improved computer, hardware component, picture format, data structure, communication protocol,

or any other improvement to computer technology” and that “they recite using well-known and

conventional hardware components (e.g., ‘camera,’ ‘lens,’ ‘sensor,’ ‘memory,’ ‘touch sensitive

display,’ and ‘cellular interface’) to perform ‘well-understood, routine, conventional activities

previously known in the industry.’” TCL Brief at p. 12 (citations omitted).

        As a first point, TCL’s focus on “conventional hardware components” is irrelevant,

because “[t]he inventive concept inquiry requires more than recognizing that each claim element,

by itself, was known in the art,” and “[a]n inventive concept can be found in the non-conventional

and non-generic arrangement of known, conventional pieces.” BASCOM Global Internet Servs. V.




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AT&T Mobility LLC, 827 F.3d 1341, 1350 (Fed Cir. 2016).

        Also, “[t]he question of whether a claim element or combination of elements is well-

understood, routine and conventional to a skilled artisan in the relevant field is a question of fact”

that “must be proven by clear and convincing evidence.” Berkheimer v. HP Inc., 881 F.3d 1360,

1368 (Fed. Cir. 2018), citing Microsoft Corp. v. i4i Ltd. P’ship, 564 U.S. 91, 95 (2011). TCL’s

unsupported attorney argument concerning what its counsel regards as an “improvement to

computer technology” cannot establish any fact at all.

        Moreover, for purposes of TCL’s 12(c) motion, the question is whether any facts, accepted

as true and viewed favorably to CEV, exist in the record to support that the claims recite an

inventive concept. Those facts undoubtedly exist: the prosecution history shows that CEV’s claims

recite an unconventional, inventive concept that distinguished prior upload systems. 7 At best, if

TCL had evidence to support its attorney argument (which it does not provide), TCL might try to

dispute the facts in the prosecution history with alternate facts. However, that would lead to the

same outcome: a genuine issue of material fact exists that precludes TCL’s Rule 12(c) motion.

        TCL undoubtedly cannot meet its heavy burden to clearly and convincingly prove, as a

matter of law, both that each individual element and the combination of elements recited in CEV’s

claims was merely well-understood, routine, and conventional to a skilled artisan in a way that

precludes a finding that the claims recite an inventive concept.

        Referring to claim 5 of the ’472 patent as an example, the claim recites as one automatic

upload condition:

        “the controller has confirmed that the camera system is within a period without
        potentially increased cellular network access fees, as determined using data from
7
 See Section II. As further proof of an inventive concept, the prosecution histories describe
many upload systems for minimizing cellular network fees that the claims do not preempt, such
as timer-based uploads, calculated estimates, and kiosks. BASCOM, 827 F.3d at 1350 (claims
found eligible did not “preempt all ways of filtering content on the Internet.”).

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        the cellular interface.”

CEV’s statements during prosecution are unequivocal and led to allowance.

        CEV explained in its IDS submitted with the claim that, using “current data from the

cellular interface to determine whether or not the device is currently in a period of potentially

increased cellular network access fees,” as recited in this claim element “clearly distinguish[e]s

timer based uploads where the user picks a time for the system to upload pictures, and the system

uploads pictures at that set, selected time, as purportedly described in Colby, Kusaka 1, and

Kawaoka.” ’472 F.H. at CEV-0011568. CEV also explained that its claim distinguished the

conventional method of “calculating the upload cost based on the file size or the amount of time

the upload is expected to take and previously stored cost per minute estimates.” Id. at CEV-

0011569, After considering CEV’s explanation of this unconventional, inventive concept and the

references (among others), the examiner allowed the ’472 patent claims. The ’761 Patent claims

issued under similar circumstances. See Section II above. That element (f) of each claim alone is

enough to demonstrate an inventive concept.

        In addition, the prosecution history describes that other claim elements also contribute to

the inventive concept. Claim 5 of the ’472 patent also recites another upload condition:

        “the controller has received from the display a selection of the user-selectable input
        that instructs the camera system to confine automatic picture uploads to periods
        without potentially increased cellular network access fees.”

CEV explained to the examiner that “[n]one of the references of record discloses or suggests” this

element. See Section II. Claim 5 of the ’472 patent also recites:

        “at least one image sensor-captured picture stored in the local memory has been
        designated through the touch sensitive display as part of the group of image sensor-
        captured pictures to be uploaded to the picture hosting service.”

As CEV explained, “This feature of the claims further distinguishes systems that only provide for




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uploading all stored pictures, as well as systems that upload each and every picture immediately

in response to the picture being taken.” See Section II above.

        The above descriptions of the claim elements in the prosecution history, and subsequent

allowance of the ’472 patent, are prima facie evidence that the claims recite an inventive concept.

The ’761 Patent has similar claim elements and prosecution history. See Section II above.

        Finally, CEV licensed its patents to eleven of the world’s leading mobile-phone

manufacturers that aggressively defend and assert patents and that adopted the inventive

technology recited in CEV’s claims, including (1) Samsung; (2) LG; (3) Sony; (4) Microsoft; (5)

ZTE; (6) OnePlus; (7) Kyocera; (8) HTC; (9) ASUS; (10) BLU; and (11) Sonim. First Amended

Complaint (Dkt. # 55), ¶¶ 1, 22, 23.

        All of the above establishes that CEV’s Claims recite an Alice Step 2 inventive concept,

and TCL’s motion must be denied.

IV.     Conclusion

        CEV’s patents are presumptively valid, and this Court has already ordered that they are not

purely functional or indefinite. See Microsoft Corp. v. i4i Ltd. P'ship, 564 U.S. 91, 97, (2011);

Commil USA, LLC v. Cisco Systems, Inc., 575 U.S. 632, 643-44 (2015). TCL cannot shirk its duty

to prove invalidity by clear and convincing evidence. CEV respectfully requests that this Court

deny TCL’s Rule 12(c) motion to dismiss.

        In the alternative, to the extent Court concludes additional facts should be pled, CEV seeks

leave to amend its complaint incorporate material from the specification and prosecution history

addressed in this brief and set forth CEV’s accompanying “Statement of Material Facts from the

Public Record.”




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Respectfully submitted on April 27, 2023, by:


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                                CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing instrument was served or delivered electronically
via U.S. District Court [LIVE]- Document Filing System, to all counsel of record, on this the 27th
day of April 2023.


                                             _______/s/ Justin Lesko_________
                                                     Justin Lesko




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